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                                  UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF TEXAS
                                         PECOS DIVISION

 ADAM PARDUE, Individually and For Others                Case No. 4:21-cv-00020-DC-DF
 Similarly Situated,
                                                         JURY TRIAL DEMANDED
      Plaintiff,
                                                         COLLECTIVE ACTION PURSUANT
 v.                                                      TO 29 U.S.C. § 216(b)

 3B INSPECTION, LLC,

      Defendant.


                                         JOINT STATUS REPORT

          Pursuant to this Court’s Order Granting the Parties’ Joint Motion to Stay and For Equitable

Tolling, Plaintiff Adam Pardue and Defendant 3B Inspection, LLC (collectively, Parties) file this Joint

Status Report. Doc. 21.

          1.       On June 16, 2021, the Parties jointly moved to stay all proceedings and deadlines in this

case for 60 days pending their exchange of class data and mediation. Doc. 13. The Parties further agreed

to toll the Putative Class Members’ statutes of limitations for a period beginning June 16, 2021 through

August 15, 2021. Id.

          2.       To further facilitate their settlement discussions and allow the Parties ample time to attend

mediation, the Parties jointly asked the Court to extend the stay on this matter two additional times until

November 19, 2021. Docs. 16 and 20.

          3.       On October 20, 2021, the Parties attended a full-day mediation with experienced wage and

hour mediator, Dennis Clifford.

          4.       While the Parties were unable to reach a resolution of this action at their mediation, the

Parties continued their settlement negotiations and agreed to resolve this case in principle on October 26,

2021.
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       5.      The Parties are in the process of finalizing the terms of the settlement and anticipate filing

approval documents on or before December 17, 2021.

       6.      In the event the Parties should encounter any issues in this process, they will promptly

notify the Court.

Respectfully submitted,



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 Class Members




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                                  CERTIFICATE OF SERVICE

        I hereby certify that the foregoing document was served by ECF electronic filing on all known
parties on this the 19th day of November 2021.

                                                      /s/ Rachael Rustmann _
                                                      Rachael Rustmann




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